                                                                                                       Case 99-33191-PB7         Filed 12/23/99     Doc 20      Pg. 1 of 2




                                                                                        1   L. Scott Keehn (SBN 61691)
                                                                                            Lisa L. Keehn (SBN 167696)
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                                                                                        4
                                                                                        5   Attorneys for Debtor
                                                                                            SARA NEWSOME BURNS
                                                                                        6
                                                                                        7
                                                                                        8
                                                                                        9                             UNITED STATES BANKRUPTCY COURT
                                                                                       10                              SOUTHERN DISTRICT OF CALIFORNIA
                                                                                       11   In Re:                                )             CASE NO. 99-33191-B7
                                                                                                                                  )
                                                                                       12   SARA NEWSOME BURNS, an individual, )                MOTION TO AVOID JUDICIAL LIEN
                                TELEPHONE (619) 232-1700 · TELECOPIER (619) 544-9095




                                                                                                                                  )             PURSUANT TO 11 U.S.C. § 522(f)
                                   2400 UNION BANK BUILDING · 530 "B" STREET




                                                                                       13               Debtor.                   )
ROBBINS & KEEHN, APC




                                                                                                                                  )
                                          SAN DIEGO, CALIFORNIA 92101




                                                                                       14                                         )             Date: 1/31/00
                 ATTORNEYS AT LAW




                                                                                                                                  )             Time: 10:30 a.m.
                                                                                       15                                         )             Dept: Four (4)
                                                                                                                                  )
                                                                                       16                                         )
                                                                                                                                  )
                                                                                       17   _____________________________________ )
                                                                                       18            NOTICE IS HEREBY GIVEN THAT, as reflected in the Notice of Intended Action And
                                                                                       19   Opportunity For Hearing filed and served herewith, pursuant to 11 U.S.C. §522(f) and Federal Rules
                                                                                       20   of Bankruptcy Procedure Rules 4003(d) & 9014, Debtor, Sara Newsome Burns, has moved this Court
                                                                                       21   for an order avoiding the fixing of the judicial lien of Bradley L. Proulx recorded in the Office of the
                                                                                       22   County Recorder for the County of San Diego on November 6, 1998 as Recorder’s File No. 98-
                                                                                       23   0725547, on the real property residence owned by the Debtor located at 4621 & 4623 Kensington
                                                                                       24   Drive in San Diego, California.
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